           Case 4:24-cv-09104-JST                                          Document 19-4                                   Filed 04/01/25   Page 1 of 1




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